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                                               1:20-cv-474




                   EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

COLONY INSURANCE COMPANY,                            §
                                                     §
         Colony,                                     §
                                                     §
v.                                                   §
                                                     §    Civil Action No. 7:18-CV-00158
D.L. PHILLIPS CONSTRUCTION,                          §
INC. d/b/a JA-MAR ROOFING and                        §
PARK PLACE VENTURES, LLC                             §
                                                     §
         Defendants.                                 §


                 CONFIDENTIAL RELEASE AND SETTLEMENT AGREEMENT



            This Confidential Release and Settlement Agreement is entered into by and between

     Colony Insurance Company (“Colony”); D. L. Phillips Construction d/b/a Ja-Mar Roofing

     (“D.L. Phillips”); First Mercury Insurance Company (“First Mercury”); and Commerce &

     Industry Insurance Company (“C&I”). Collectively, Colony, D.L. Phillips, First Mercury, and

     C&I are referred to herein as “Parties.”

                                                WITNESSETH:
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                                                  Fi~~A~
                                    ACKNOWLEDGMENT



STATE OF - - - -               §
                               §
COUNTY OF _ _ __ §

       BEFORE ME, personally came _ _ _ __ _ __ _ _ __ , to me known, who, by

me duly sworn, did depose and say that s/he executed the foregoing Agreement, and that s/he

signed her/his name to the Agreement.

       SUBSCRIBED        and       SWORN   TO     before   me    this              day    of

- - - -- - - - - - - 2019.




                                           Notary Public in and for the State of _ _ __




                                             11
